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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

  DECAPOLIS SYSTEMS, LLC,                         §
                                                  §
               Plaintiff,                         §
                                                  §
  v.                                              §    Case No. 2:22-cv-00146-JRG-RSP
                                                  §
  MEDSYS GROUP, LLC, TENET                        §
  HEALTHCARE CORORATION,                          §
  UNIVERSAL HEALTH SERVICES, INC.,                §
  and TYLER TECHNOLOGIES, INC.,                   §
                                                  §
               Defendants.                        §

                                            ORDER

        Before the Court is the Stipulation of Dismissal filed by Plaintiff Decapolis Systems, LLC

 and Defendant UHS of Delaware, Inc. Dkt. No. 52. In light of the Stipulation, which the Court

 ACCEPTS AND ACKNOWLEDGES, and pursuant to Rule 41(a)(1)(A)(ii), all claims asserted

 in this suit by Decapolis Systems against UHS of Delaware and all counterclaims asserted by UHS

 of Delaware against Decapolis Systems in the above-captioned case are DISMISSED WITH

 PREJUDICE, subject to terms of the Agreement between the parties. All pending requests for

 relief in the above-captioned case between Decapolis Systems and UHS of Delaware not explicitly

 granted herein are DENIED AS MOOT. Each party is to bear its own costs, expenses, and

 attorneys’ fees.

        The Clerk of the Court is directed to CLOSE the above-captioned case as no Defendants
 remain.

        So Ordered this
        Nov 14, 2022
